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                            EXHIBIT 48




                                     Exhibit 48
                                       6676
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                                  SFUND RECORDS CTR
                                    88103651                 SFUND RECORDS CTR
                                                                 1654-05108

                SUMMARY OF 8/29/91 EPA/MSG TECHNICAL MEETING

                      Agenda attached as Attachment A
                 Attendance List attached as Attachment B


          1. Schedule: After the August 6 meeting with the
 community/ the EPA McColl Project Managers had a briefing with
 management to discuss the 2-1/2 year schedule. EPA has agreed to
 meet with the community after Interagency Committee meetings.
 EPA will meet with the community on September 9 and has agreed to
 provide the community with a detailed schedule describing
 activities to take place over the next 2-1/2 years in that
 meeting. EPA will provide the MSG with a copy of the schedule
 before September 9. EPA and MSG will discuss the schedule in the
 next technical meeting. MSG proposed to meet with the EPA every
 week to discuss technical issues. EPA said it cannot commit to
 meeting with the MSG once a week and still maintain the Agency's
 internal schedule. EPA has agreed to meet with the MSG every
 three weeks to discuss technical issues and to have conference
 calls with the MSG to discuss isolated issues on an as-needed
 basis. EPA and MSG have agreed to meet in Fullerton on September
 10 and to meet in San Francisco on September 30. Agendas for
 technical meetings will be developed based on results of the
 prior meetings and suggestions from EPA and the MSG.
            •      Accomplishments;
                  -EPA and MSG have agreed to meet every
                   three weeks to discuss technical issues.
                   -EPA and MSG have agreed to have conference
                    calls on an as-needed basis to discuss
                    technical issues.
                   -EPA and MSG have agreed to meet on September 10
                    in Fullerton and on September 30 in San Francisco.
            •      Action Item;
                   -EPA to provide MSG with a copy of the Agency's
                    detailed 2 1/2 year schedule before September 9.

          2.   Tar/Asphalt Relationship: Professor Satterfield of
 MIT gave a presentation on the reactions occurring at the McColl
 Site (See Attachment C>. The MSG will provide EPA with a
 detailed paper describing these reactions in September. EPA



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agrees with the reactions described by Professor Satterfield.
EPA believes Professor Satterfield's presentation explains a
great deal about the tar. EPA would like further information
about why tar is still found at the Site if these reactions have
been occurring since the sludge was placed in the sumps. MSG
agreed to discuss these issues in greater detail with EPA in the
next technical meeting.
           •     Accomplishment;
                 -EPA and MSG agree on the reactions occurring
                  at the McColl Site and agree the tar to asphalt
                  conversion process is irreversible.
           •     Action Item;
                 -MSG will provide EPA with further information
                  regarding the presence of tar at the Site.

         3. Pathways. Waste Description and Remediation
Objectives; EPA and MSG agree that direct contact/ ingestion,
inhalation, surface water and groundwater are the potential
exposure pathways to be evaluated at McColl. EPA intends to look
at the surface water and groundwater potential exposure pathways
as part of the risk assessment for the groundwater operable
unit. EPA intends to consider the direct contact, ingestion and
inhalation potential exposure pathways as part of the surface
remedy. With respect to materials present at the Site, EPA and
the MSG agree there are five different physical materials present
at the Site (arsenic, drilling muds, tar/ asphalt and
contaminated soil). EPA, however, groups the materials
differently than the MSG for purposes of remediation
considerations. EPA would group the five physical material
categories into two categories for purposes of remediation: (i)
arsenic and (ii) drilling muds, tar, asphalt and contaminated
soil. Currently, EPA is expressing its remedial action
objectives in terms_ of the contaminants present at the Site
rather than waste characteristics. The MSG also considers the
toxicity of the contaminants present at the Site in developing
its remediation goals for the Site, but found the potential
exposure pathways varied with the different categories of waste.
This leads the MSG to believe the material types should be
categorized differently for purposes of remediation. EPA
explained that the Agency is still evaluating the toxicity of the
different materials. EPA stated that the MSG remedial action
objectives are similar to the Agency's but that EPA views the MSG
objectives as subsets of broader EPA objectives. EPA agreed to
write down its remedial action objectives for McColl and to
provide the list for discussion at the next Technical Meeting.



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           •     Accomplishments;
                 -EPA and MSG agree on the potential
                  exposure pathways.
                 -EPA and MSG agree on the materials
                  present at the McColl Site.
                 -EPA and MSG agree their remedial action
                  objectives are similar.
           •     Action Item:
                 -EPA to provide MSG with a list of the
                  Agency's remedial action objectives and
                  discuss them in the September 10 meeting.

         4. Selective Excavation and Remediation Objectives:
EPA raised the following questions about Selective Excavation:
(i) How does the MSG define tar? (ii) How does MSG intend to find
the tar? (iii) Who determines if excavation is "safe"? (iv) What
are the acceptable "safety" levels and what are the trigger
points for determining those levels? and (v) What happens if the
MSG is unable to locate and treat all of the tar? MSG agreed to
provide EPA with further information on these questions in the
upcoming technical meetings.
           •     Accomplishment:
                 -EPA identified specific questions it has on
                  the Selective Excavation approach.
           •     Action Item;
                 -MSG will provide EPA with further information
                  on these issues in upcoming technical meetings.

         5.   Integration of Technical Studies into Current
Process; The MSG presented its logic for integrating new
technical studies into the decision-making process (See
Attachment D). EPA agrees with the logic set forth in the
decision-tree and understands the MSG position that it is
important to screen alternatives out of the process early if they
are not viable alternatives. EPA agreed with this approach and
stated the Agency intends to screen non-viable alternatives early
in the process. EPA cited the screening out of off-site
incineration as an illustration of this point. EPA suggested the
MSG tell the Agency when the MSG believes an alternative should



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be screened out of the process and provide the reasons for the
conclusion so EPA can consider the information. The MSG agreed
to do so and noted that its current efforts in this regard,
citing the recent letter sent to John Blevins regarding on-site
incineration costs (Attachment E). EPA believes it must update
the costs of all of the SROA alternatives. EPA does not believe
its plans to update the costs of the SROA alternatives will take
much time in the scheme of the 2-1/2 year schedule. EPA believes
developing the new alternatives and performing the risk
assessments on the new alternatives (total solidification,
discrete layer solidification and Selective Excavation) are the
critical path issues which will take a large amount of time to
complete. The MSG believes risk assessment work need only be
done on the new alternative, Selective Excavation, and that the
other two new alternatives EPA is currently considering fail NCP
criteria and should be screened out of the process. EPA and the
MSG agreed to have their respective contractors discuss the risk
assessment in upcoming technical meetings.
           •      Accomplishments;
                 -EPA and MSG agree on the logic for integrating
                  new technical studies into the decision-making
                  process.
                 -EPA and MSG agree that non-viable alternatives
                  should be screened out of the process as soon
                  as possible.

           •      Action Item;
                 -EPA and MSG contractors to discuss risk
                  assessment issues in upcoming technical meetings.




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                                     Exhibit 48
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                                     McColl Site
                   Proposed Agenda for EPA/MSG Technical Meeting
                                   August 29, 1991
                                   9 a.IB. - 3 p.m.
                                 Baldwin Park Hilton
                           14635 Baldwin Park Town Center
                               Baldwin Park, CA 91706
                             Telephone: (818) 962-6000
1.     Discussion as to How to Integrate the EPA and MSG McColl Schedules
       for Presentation to Community on September 9th
       EPA and MSG agreed to a community request to review their
       respective schedules regarding the time and steps necessary to
       select an alternative at McColl.
2.    MSG Presentation on Tar - Asphalt Relationship - 1 hour
      While EPA recognizes the differences between the tar and asphalt, they
      currently view the tar and asphalt as a single waste category. MSG
      believes the waste chemistry and characteristics warrant separate
      categories.    MSG will bring Prof. Satterfield (MIT) to make a
      presentation on the "tar - asphalt" relationship in advance of issuance
      of the technical paper.
3.    EPA Presentation of: Pathways, Waste Description                 and Remediation
      Objectives - l hour
      At the last meeting, in response to the MSG presentation, EPA provided
      a broad, global overview of their approach to these issues. EPA would
      provide a more focused picture of their approach. From this and the MSG
      presentation earlier this month, specific areas of agreement and
      disagreement should emerge.
4.    EPA/MSC Discussion to Develop Documentation on Pathways, Waste
      Description and Remediation Objectives - 2 hours
      EPA and MSG to document areas of agreement to maximize progress. They
      will also identify areas of disagreement and seek to identify an
      approach for resolving the conflict. Identify action items and propose
      schedules,
5.    EPA/MSG Discussion Concerning Selective Excavation and the Remediation
      Objectives - 1 hour
      Based on the presentation of MSG on 8/6 and EPA (item 2 above) come to
      agreement as to how the objectives are met. If there are areas of
      disagreement, identify then for resolution. Identify action items and
      proposed schedules.
                                      ATTACHMENT A
                                       Page 1 of 2


                                          Exhibit 48
                                            6681
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Proposed Agenda, EPA/NSC Technical Meeting
(August 29, 1991)
Page 2

6.    MSG Lead Discussion as to an Appropriate Response for Impact of New
      Information on the SROA Alternatives of 1989 - 1 hour
      MSG provides logic for integrating the results of technical studies;
      revised NCP and the remedial objectives into the SROA alternatives.
      Emphasis will be on a screening evaluation to identify the significance
      of the new information to the work included in the SROA.




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                                      ATTACHMENT A
                                       Page 2 of 2




                                          Exhibit 48
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                                                                         Phone.
                             /MtlA




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                                ATTACHMENT B




                                     Exhibit 48
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                      REACTIONS IN THE McCOLL SUPERFUND SITE


  SUMMARY - Present products have been formed by:
        A.     Acid-catalyzed polymerization and polycondensation of
               organic material.
        B.     Above reactions, accelerated by autoxidation
        C.     Above reactions, accelerated by acidified clay which
               also adsorbs products to form an asphaltic cement.
        D.     These reactions are not reversible under existing
               conditions
               1.     Original composition of sludge
                      (a) 90% H2S04
                      (b) undefined organic material of varying
                          molecular weight and composition.
                      (c) essentially no "ash"
               2.     Present composition, from L-4 EPA Pre-publication
                      Report, 1990
                               raw tar                    raw char
                      C           51.1 wt%                    8.6
                      H            4.1 (net)                  3.7
                      S           10.6                        4.5
                      N            0.1                        0.1
                      0           20.8 (net)                 28.3
                    ash            1.6                       55
                      Radian - Cores from R-l, R-2, R-5. L-l and L-2
                      Two samples of each of five. Eight of the ten
                      described as a "hard, black asphaltic waste with a
                      slight rubbery texture."
               Average analysis: 48% ash
               (variation amongst individual samples apparently not
               available)
               3.     Clay was present in all CH2M borings (1987) of soil
                      near pits. (LO-SO-01 through LO-SO-09 and RA-SO-01
                      through RA-SO-07)

                                         ATTACHMENT C
                                          Page 1 of 2




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                      Drilling muds (essentially bentonite clay) also
                      disposed of in some pits (Bentonite is a
                      montmorillonite type of clay).
                      Reactions
                      Dehydropolymerization
                           RH+R'H -^0_2____-*- R'R' + H20, etc.
                      Polycondensation
                           R(0)H + R'(0)H         *- R-R' or R(0)R* + H20,
                           etc.
                      Polymerization reactions are catalyzed by acids
                     Contact of clays with an acidic hydrocarbon sludge
                      Kaolin (ideal) Al4Si40io(OH)8'nH2O
                      Montmorillonite (ideal)

                                <A13.15M90.85>si8.0°20<OH>4x0.85<nH20
                               X= monovalent cation
                      A.       clays are converted to the acidic form
                      B.       they dissolve/disperse
                      C.       they reprecipitate as acid concentration drops
                               simultaneously
                               • they catalyze polymerization reactions
                               • they adsorb polymeric materials and
                                    gradually become inactive
                               Result; Formation of an asphaltic cement
                               structure
                      D. These processes are exothermic and occur
                      spontaneously at ambient conditions. They cannot
                      occur in the reverse direction under the same
                      conditions that drive them forward.


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                                                       McCOLL SITE STUDIES
                                                          DECISION TREE



                                                      Does the study pertain to an     NO.
                                                    alternative under consideration?


  To what alternative does it apply?


       Selective Excavation                                 SROA Alternatives


  Did MSG have information prior to           NO
          2/12/91 offer?

                    YES
                                                      Does information significantly    NO-
                                                      enhance the viability of the
                                                      alternative?

                                                                    YES
                                                                     4,
                                                          Evaluate information


  Information considered by MSG in
  developing Selective Excavation
  and Incorporated into Proposal

                                                         Does Information Alter         NO-
                                                       Selective Excavation Plan?

                                                                    YES
                                                                     4-
                                                         Integrate Into Selective
                                                             Excavation Plan

                                                                                                 No Further Evaluation

McColl Site Group                                       ATTACHMENT D
August 29, 1991                                          Page 1 Exhibit
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                                     McCOLL SITE STUDIES SINCE


           •        PRELIMINARY TEST BURN TREATABILITY STUDY OF McCOLL SUPERFUND
                    WASTE IN OGDEN'S CIRCULATING BED COMBUSTER RESEARCH FACILITY,
                    MARCH 1989

           •        TECHNOLOGY EVALUATION REPORT, SITE PROGRAM DEMONSTRATION
                    OF A TRIAL EXCAVATION AT THE McCOLL SUPERFUND SITE, SEPT. 1990

           •        McCOLL SITE SUBSURFACE INVESTIGATION, FEB. 20, 1991 (L-l BORING
                    REPORT)

           •        EVALUATION OF INCINERATION ALTERNATIVES FOR THE McCOLL
                    SUPERFUND SITE, EPA START PROGRAM REPORT, MAY 1991

           •        GROUNDWATER STUDIES

           •        TREATABILITY STUDIES

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       McCOLL
       SITE *
       GROUP             215 East Orangethorpe Avenue, Suite 304, Pullenon, California 92632 (714) 665-7391




                                                        August 23, 1991



     Mr. John Blevins
     U.S. EPA, Region IX
     75 Hawthorne Street, H-6-1
     San Francisco, California 94105
                       Re:       McColl Superfund Site - Analysis of Onsite
                                 Incineration Costs
     Dear- John:
              The EPA has stated in the Interagency Committee (IAC)
     letter dated August 2, 1991, that costs for onsite incineration
     are currently running approximately $150 per ton. We do not
     believe a $150 per ton estimate is appropriate for incineration
     and ash disposal at the McColl Site. A recent fixed price
     estimate for the Brio NPL site indicates that the incineration
     component alone, not including ash handling, for the site was
     $150 per ton. Further, this site is less complex than McColl and
     is located in a less restrictive air quality area.
               In our comments to the Supplemental Reevaluation of
     Alternatives, we cited a 1988 paper by John H. Lanier in the
     Hazardous Materials Control Research Institute's Superfund '88
     which states: "Incineration prices (for transportable units)
     range from $200/ton for dry contaminated soil to $1000/ton for
     sludges with high heating values." We believe that transportable
     incinerator costs will increase significantly in the future, just
     as the costs of fixed base units have, and that the McColl Site
     wastes will be on the upper end of the cost range. -
             Science Applications International Corporation, in their
    START program report of May, 1991, estimated that the cost for
    incineration at McColl, using a transportable rotary kiln system,
    would be $249 per ton in 1987 dollars, or approximately $300 per
    ton in 1991 dollars. However, this number assumes " . . . no
    capital or annual costs involved in procuring such a system," nor
    does it account for the ash handling. It is unrealistic to
    expect that a company would provide an incinerator for six years
    without looking to recover the capital cost of that unit. This
    would add up to $100 per ton to amortize the cost of the unit.
    In addition, the ash handling for other sites costs approximately


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     The McColl Site Group is composed oC
     Shell Oil Company. ARCO. Phillips Petroleum. Texaco andExhibit
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    McCOLL
    SITE
    GROUP             215 East Orangethorpe Avenue, Suite 304, Fullerton, California 92632 (714) 665-7391




  Mr. John Blevins
  August 23, 1991
  Page 2


  $65 per ton. The total cost for incineration and ash handling
  would be at least $465 per ton. We believe the cost of meeting
  air quality standards in the South Coast Air Quality Management
  District ("SCAQMD") would require additional capital cost, but do
  not have any specific estimate at this time.
          Although we are not convinced that incineration is even
 possible within the SCAQMD, given the above, we have developed an
 illustrative cost analysis for an onsite incineration program.
 For ease of comparison, we have used the costs EPA quoted in the
 Interagency Committee letter for excavation and storage, tar
 treatment, char treatment and contingency percentage. Even
 though we believe EPA's cost estimates are substantially low, and
 the air quality issues associated with such a program have not
 been adequately addressed, we have used them for illustration
 purposes and have found that the lower range of costs for an
 onsite incineration program at McColl would be $215-$330 million
 (see Attachment 1). Adjustments for air quality facilities and
 waste excavation and handling would substantially increase the
 final cost and clearly result in this alternative not being
 cost-effective.
          We would be glad to discuss the foregoing with you in
 detail. We expect the foregoing information will be used in your
 decision-making process at McColl.
                                                        Very truly yours,


                                                        William J. Duchie
 WJDrmfl
 cc:      David Jones
          Pam Wieman
          Steve Linder
          Barry Eaton
          David Bushey
          Barry Brown



                                                     ATTACHMENT E
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  The McColl Site Group is composed ot
  Shell Oil Company. ARCO. Phillips Petroleum. Texaco and UNOCAL ••
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    SITE
    GROUP            215 East Orangethorpe Avenue, Suite 304, Fullerton, California 92632 (714) 665-7391

                                              ATTACHMENT 1
                                      COST FOR ONSITE INCINERATION


                   ITEM                                                       COST (^MILLIONS)

         Excavation and Storage                                               $         62*
         Tar Treatment                                                                    5*
         Char Treatment                                                                 16*
         Transportation                                                                  0
         Incineration and Ash Disposal**                                          70-150


  TOTAL                                                                      $153-233
  CONTINGENCIES***                                                             $18-28
  TOTAL PLUS CONTINGENCIES***                                                $171-261
  TOTAL COST WITH 5%/YEAR ESCALATION***                                       $215-330


                  THESE NUMBERS HAVE BEEN TAKEN FROM EPA LETTER TO THE
                  INTERAGENCY COMMITTEE (8/2/91) FOR CONSISTENCY. THE
                  MCCOLL SITE GROUP DOES NOT AGREE WITH THE EXCAVATION AND
                  TREATMENT NUMBERS CITED ABOVE AND BELIEVES THAT
                  EXCAVATION WILL BE SIGNIFICANTLY MORE COSTLY.
  **              BASED ON 150,000 TONS AT $465-$1000 PER TON
  ***             MULTIPLIERS TAKEN FROM EPA LETTER TO INTERAGENCY
                  COMMITTEE (8/2/91)




                                                     ATTACHMENT E
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  Shell Oil Company. ARCO. Phillips Petroleum. Texaco and UNOCAL •-»••
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